
Turley, J.
delivered the opinion of the court.
HughWhite sued JamesSmith before a Justice ofthePeace, and recovered judgment. Smith prayed an appeal on the day of trial, which was granted, upon his giving bond and security. This was not done at the time; but subsequently, viz, on the 2d day after the trial, he went to the Justice for the purpose of doing so, but met him going to church: he informed him of his business, and observed that if it would answer as well, he would attend and give the bond on the Monday following, it then being Saturday. To this the Justice replied, “well.” On the Monday following the Justice refused to receive the bond, alledging that it had not been tendered in time. Thereupon Smith filed a petition for a certiorari, in which a good legal de-fence to the action is shown, and the facts above stated are set forth as a reason for not having appealed. This petition was dismissed by the Circuit Court, to reverse which judgment this writ of error is prosecuted. We are of the opinion, that the judgment of the Circuit Court, dismissing the petition, is erroneous. We think the reason assigned for not giving the bond *47on Saturday the second day after the rendition of the judgment is sufficient; that the remark of the Justice induced the petitioner to believe that it could be as well done on Monday, and that but for this the bond would have been executed on Saturday. The design of courts of law is to administer justice. Here is a case in which it appears that petitioner has a good legal de-fence, of which he is sought 'to be deprived by reason of a mere oversight, superinduced by the conduct of the Justice of the Peace who gave the judgment. This we cannot permit.
Note. — See4 Verger, 180; 4 Hayw. 100; 3 Hum. 145,137; 2 Hum. 32.
Let the judgment be reversed, and this case be remanded for a trial upon its merits.
